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                                                                                               j/C "~'.-'/
                               IN THE UNITED STATES DISTRICT COUR?JI,A . 1(;;;':.,
                                   FOR THE DISTRICT OF MARYLAND       ~/ /2     ";;:/
                                          Greenbelt Division      C,-.,     4;..     .
                                                                                  .A,(I
                                                                                   '(."
                                                                                                             '7   9:,'),
THE DISTRICT OF COLUl\IBlA                                                                 'CI:-~';'le,o- c:u
441 Fourth Street, l\.W.                                                            .               . if'
Washington, D.C. 2000 I,
                                                                                    -"
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                                                                                               'O~
                                                                                                 PI;'
                                                                                                             I   Y <-'
and

THE STATE OF MARYLAND
200 Saint Paul Place, 20th ]-loor
Baltimore, :-'lar:-1and 21202,
                                                             Civil Action No.
        Plaintiffs,

        v.
                                                              / t;. - eV~{)/59& - !JI1
DONALD J. TRUl\IP, in his official capacity
as President of the United States of America
1600 Pennsyl\'ania Avenue, K\\'.
Washington, D.C. 20500,

        Defendant.




                                             COMPLAINT

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                                                I.
                                       NATURE OF THE ACTION

        I.           This is an action against Donald j. Trump in his official capacity as President of

the United States. The case invokes           unprecedented       constitutional    \iolations    by the President

that have injured and threaten          to cause continuing       i'1jury to the Disuict of Columbia           ("the

Disuict") and the State of 1\Iaryland (":\Iaryland")          and their respective residents, including direct

injury to the plaintifls' interests in properties located in the District, in Prince George's County,

:\Iaryland, and in :\Iontgomery        County, :\Iaryland.

        2.       The lawsuit alleges \'iolations by the President of two distinct yet related prO\isions

of the U.S. Constitution       that seek to make certain that he faithfully serves the American people,

free from compromising          financial entanglements       with foreign and domestic governments             and

officials. The first prO\ision, the Foreign Emoluments           Clause, prohibits any "Person holding any

Ollice of Profit or Trust" from accepting "any present, Emolument,                  Olfice, or Title, of any kind

whatever, from any King, Prince, or forcign State," absent "the Consent of the Congress."                      U.S.

Const. art. I,   S   9, cl. 8. The sccond, the Domestic Emoluments           Clause, entitles the President to

receive a salary while in office and forbids him fi'OIn "receiv[ing]               \\ithin that Period any other

Emolument    from the United States, or any of them." U.S. Const. art. II,                  S    I, d. 7. Together,

these prO\isions help ensure that the President selyes with undivided                  loyalty to the American

people, and the American people only. Our republican form of government                     demands no less.

        3.           Vested by the Constitution       with extraordinary   powcr, the President is bound by

oath to "faithfully execute" his oflice and "preserve, protect and defend the Constitution                    of the

United States." Since 1789, each Presidcnt, regardless of temperament                   or ideology, has sought,

in his own way, to honor that         solen111 YOW.   'Yet fundamental to a President's fidelity to that oath

is the Constitution's        demand     that the President,      as the highest       officeholder    in tl,e land,
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disentangle his pri,.ate finances from those of domestic and foreign powers. Ne,'er before has a

President acted with snch disregard for this constitutional                       prescription.

           4.         President       Trump~s continued          ownership         interest    in a global      business    clnplfc,

which renders him deeply enmeshed with a legion of foreign and domestic go\"(~rnment actors,

,'iolates the Constitution           and calls into question the rule of law and the integrity of the conntry's

political system. "'hate,'er           the sincerity of the persons iJ1\'oh-ed, foreign and domestic oflicials arc

put in the position of considering                   whether   oficling henefits to businesscs associated                  with the

President is important             to maintaining       goodwill. And irrespective of whcther such benefits affect

the President's decision-making                  or shift his loreign or domestic policy, uncertainty             about whether

the President is acting in the best interests of the American people, or rather for his own ends or

personal        enrichment,      inOicts lasting harm on OlIr denlocTacy.                  The Framers of the Constitution

foresaw that possibility, and acted to prevent that harm .

           ..).       The       Erllolulllcnts      Clauses    arc       two   critical,    closely   related    anti-corruption

prO\isions aimed at ensuring that the President faithfully serves lite jleojl/e, free from the distorting

or compromising               effects of financial inducements             prO\ided        by foreign nations,     their leaders,

indi,idual        states in the Union, Congress, or other parts of the federal government.                          They ensure

that Atncricans        do not ha\"e to guess whether a President who orders their                       SOilS   and daughters      to

die in foreign lands acts out of concern for his pt;\"atc business interests; they do not ha\"e to

wonder if they lost their job due to trade negotiations in which the President has a personal stake;

and they never have to question whether the President can sit across the bargaining                                    table from

foreign leaders and faithfully represent the world's most powerful democracy,                                unencumbered        by

fear of harming his own cOlnpanies.

           6.         "'ith     respect to the Foreign Emoluments                  Clause, the Framers were aware that

entanglements         between       American        oflicials and foreign powers could pose a creeping, insidious

                                                                     2
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threat to the Repuhlic. The theory underlying the clause, informed by English history and by the

Framers' experience, is that a /Cderal officeholder who recei,'es something of\'alue from a foreign

government        can be imperceptibly        induced     to compromise        what the Constitution      insists be his

only loyalty: the best interest of the United States of America. And rather than address such

corruption       by punishing      it after the filct, the Framers concluded           that the best solution was to

\\'lite a strict prophylactic        rule into the Constitution          itself, thereby guaranteeing   that improper

incenti,'es     ne\'er undo this important           safeguard       of American    autonomy.   Applied to President

Trump's        di\'erse dealings, the text and purpose of the clause speak as one: absent the consent of

Congress,       pri,'ate     enrichment    through     the receipt of benefits        li'om foreign go\'ernments        is

prohibited.'

          7.         The Domestic Emoluments             Clause was also designed to protect the go\'ernment

from corruption.           The Founders intended the elause to sen'e as a guarantee              that Con" ..•.ess, other

parts of the federal go\'ernment,          and the states "can neither weaken [the President's] fortitude by

operating      on his necessities,     nor corrupt his integlity        by appealing to his a\'al;ce."2 The Framers

further intended the elause to protect against self-dealing by ensuring that the President's sen'ice

is "remunerated only          by the compensation      fixed in advance      by Congress.

          8.         Relatedly,      and' in ways particularly          important    to the plaintiffs, the Domestic

Emoluments         Clause shields the states and the District of Columbia                   from undue pressure        to



                 ,,"orman L. Eisen, Richard Painter & Laurence H. Tribe, The Emoluments Clause: Its
Text, Meaning. and Application to Donald]. Tmmp (Dec. 16, 2016), http://brook.gsl2hGI~lbW;       see
also Applieabiliry of Emoluments Clause to Emplopnent of GO\'ernment Employees by Foreign
Public Universities, 18 Op. O.L.C. 13, 18 (1994) ("Those who hold offices under the United
States must gi\'e the go\'ernment their unclouded judgment and their uncompromised loyalty.
That judgment might be biased, and that loyalty di,'ided, if they received financial benefits from
a foreign go\'ernmenl. ").
                     The Federalist No. 73 (Alexander Hamilton).



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prm;de emoluments to the President, and protects them from reprisal for any refusal to do so. In

a similar vein, the prm'ision safeguards the states and the District li'OJllunfair acl\'antages certain

slates may er~oy fi'om opportunities      to curry favor (i'om the President               by pro\iding emoluments

that other states lack.

        9.       President Trump,    acting through compames he owns or controls, has \;olated

both the Foreign Emoluments          Clause and tbe Domestic Emoluments                         Clause by reeel\1ng

millions of dollars in pa)l11ents, benefits, and other valuable                     consideration       from foreign

gm'ernments     and persons      acting on their behalf, as well as. federal agencies and state

gmTrnments.     His reJleated, ongoing \'iolations include remuneration                    derived from: (a) leases of

Trump properties held by foreign-government-owned                entities; (b) purchase and ownership of

condominiums      in Trump properties hy foreign governments or foreign-government-controlled

entities; (c) other property interests or business dealings tied to foreign governments; (d) hotel

accommodations,       restaurant purchases, the use of      \'ClllIe'S   for   C\'ellts,     and purchases of other

sen'ices and goods by foreign governments             and diplomats at hotels, restaurants,                and other

domestic and international       properties    owned, operated.          or licensed by President Trump;

(c) continuation of the General Sen'iees Administration lease for President Trump's \Vashington,

D.C. hotel despite his hreaeh of the lease's terms, and potential prm;sion of federal tax credits in

connection     with   the same    property;     and   (D   payments        from forcign.governmcnt-owned

broadcasters    related to rebroadcasts       and foreigtl versions of the tele\'ision program                  "The

Apprentice" and its spinoffs. ~Ioreover, President Trump, by asserting that he ,,;11 maintain the

interests at issue, is poised to engage in sinlilar constitutional         violations for the duration of his

presidency.

         10.     These present and continuing          violations of the Constitution!s anti-corruption

protections threaten the free and independent self-govemanee at the core of our democracy. The

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President is making decisions eyery day with profound and far-reaching                       effeets on Amelican      life,

from determining         who can trayel into the country to deciding whether the United States "ill

abandon         global efforts to combat       climate change; from proposing              budgets to oyerseeing      the

federal workforce; from eyaluating who "ill pay more in taxes to choosing how people will access

health carc. Yet Americans are left uncertain as to whether these decisions, \\ith their sweeping

impact on foreign and domestic poliey, arc driycn solely by unyielding loyalty to the conntry's

best interests. or rather are affected by sclf:intercsted              111oti\"ations   grounded in the international

and dmnestic business dealings in which President Tnlmp's personal fortune is at stake.

          II.       The President's    \iolations    of the Emoluments             Clauses undermine     the trust the

American people are entitled to haw in their goyernmenl.                     It is fundamental   to our system of self-

goyernance        that our dnly cleeted Presidents and the goycrnments                   oyer which they preside will

always act in singular pursuit of our liberty, security, health, and well-being. President Trump's

mytiad international and domestic business entanglements                          make him yulncrablc to corrupt

influence and depriye the Ameriean people of trust in their chief executiye's undiyided loyalty.

          12.       The District and Maryland haye compelling interests in ensuring that the Foreign

and Dornestic Emoluments Clauses arc enforced and protect their residents as designed. The

President's disregard for these constitutional constraints has resulted in significant and ongoing

harm to the District and to l\laryland.

          13.       The District and Maryland have other sovereign, quasi-sovereign,                  and proprietary

interests in preventing the defendant's          \iolations       of the Emoluments       Clauses. The defendant,      his

organization,       and its afliliates have received presents or emoluments                   froIll foreign states    Of



instrumentalities      and federal agencies, and state and local governments                 in the form of payments

to the defendant's      hotels, restaurants,     and other properties. The defendant             has used his position

as President to boost this patronage            of his enterprises,      and foreign diplomats and other public

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ollicials have made clear that the defendant's                     position as President increases the likelihood that

they will frequent his properties and businesses,

          1+,          The defendant's       ongoing constitutional            violations haml the sovereign and quasi-

so\'Creign interests of the District and l\lal)'land,                l\1al),land has an interest in presen;ng       its role as

a separate soycreign and securing obseryance of the tenns under which it participates in the

federal system, That           interest     is harmed       by the defendant's           \;olations    of both Emoluments

Clauses, but it carries particular             foree with respect to the Domestie Emoluments                  Clause, which

exists (at least in part) for the protection                of "the United States and any of them," Indeed, as

go\.crnment entities with authmity to tax and regulate businesses and real estate, the Disuicl and

l\laryland      arc harmed      by percei\'ed          and/or     actual pressure to grant special treatment           to the

defendant       and his extensive alliliated enterprises,               or else be placed at a disadvantage          \;s-a-\ls

other states and go\'ernments             that have granted or will grant such special treatment.                In addition,

the Distrin      and l\laryland      haw an interest in protecting                   their eeonomies     and their residents,

who, as the defendant's           local competitors,            arc i~ured      by decreased      business, wages, and tips

resulting from economic            and commercial               acti\'ily diverted    to the defendant      and his business

enterprises due to his ongoing constitutional                    \;olations,    l\[aryland    is itself further injured by the

reduction in     lax    revenue that      OO\'\'S   from those violations.

          15,          Thc   defendant's       ongoing      constitutional       \lolations    also harm     the propl;etary

interests of the Distl;et and l\lal).land,              The District and l\laryland           suffer direct financial harm in

their capacity as propl;etors             of businesses that compete with the defendant's                  businesses, to the

extent that businesses owned by hinl and/or his affiliated enterprises attract customers and divert

them away from businesses that the District and Maryland own, license, or tax,

          16,          The   District of Columbia           and l\laryland           bring this action     to stop President

Trump's      \lolations of the Emoluments               Clauses, As a direct result of those \;olations,          the Distl;ct

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and l\laryland     ha,'e been i'tiured and will continuc to bc injured absent relief from this Court.

To pre,'ent      these injuries,   they request      that this Court    enter a declaratory    judgment   that

President Trump has ,;olated         the Foreign and Domestic Emoluments           Clauses and an injunction

against ,;olating thcse clauses further.

                                                        II.
                             PARTIES, JURISDICTION,                  AND VENUE

         17.      The plaintifE arc the District of Columbia and the Stale of~laryland.

         18.      The District of Columbia        is a municipal     corporation   empowered   to sue and be

sued, and is the local government        for the ten;tory constituting     the permanent   scat of the federal

government.      The District is represented         by and through     its chief legal ollicer, the Attorney

General for the District of Columbia.        The Attorney General has general charge and conduct of

all legal business of the District and all suits initiated by amI against the District and is responsible

for upholding the public interest.

         19.      The State of ~Iaryland      is a sovereign state of the United States of Amel;ea. The

State is represented    by and through its chief legal oflicer, the Attorney General of l\lalyland.        He

has general charge, supen;sion,         and direction        of the State's legal business, and acts as legal

advisor and representative of all major agencies, boards, comnlissions, and official institutions of

state government.      The Attorney      General's    powers and duties include acting on behalf of the

State and the people of Mal)-Jand in the federal courts on matters of public concern.

        20.       The defendant      is the President of the United States of America. He is being sued

in his ollicial capacity.

        21.       This Court has subject-matter jurisdiction         under 28 U.s.C. ~~ 1331 and 220 I.

        22.       Venue is proper under 28 U.S.C. ~ 1391(e)(I) because the defendant is "an ollicer

... of the United States ...       aCling in his ollicial capacity or under color of legal authoriry,"    and



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the District of l\laryland            is a 'judicial     district" in which "a substantial            part of the events or

omIsSIons gI\lng nse to the claim occurred,"                   and (in any e\Tnt) where one of "the plaintifl]s]

resides. "

                                                              III.
                                                 LEGAL BACKGROUND

            23.        The Foreign Emoluments                 Clause. The ori",;ns of the Foreign Emoluments

Clause go back to at least 1651, when the Dutch broke \\ith traditional                               European    diplomatic

clistOlns        and   prohibited     their    foreign   ministers   from    acccpting         "any   presents,   directly   or

indirectly, in any manner or way whatcycr."3 The Fnllncrs                               also had the benefit of earlier

thinking by those who drafted state constitutions,                    including        Maryland's;'     and by those who

crafted the Articles of Confederation,              which contained     the clause's predecessor:           "[T\lor shall any

person holding any oflice of profit or trust under the United States, or any of them, accept of any

present, emolument, office, or title of any kind whatever,                            from any king. prince,      or foreign

Statc."S


            24.        The ForeigIl Emoluments            Clause was not included initially at the Constitutional

COI1\'cntion, but it was added without dissent at the request of Charles Pinckney, who "urged the

necessity of presening              foreign l\linisters & other oflicers of the U.S. independent                  of external

influence."'; EdmundJennings                  Randolph    confirmed the clause's anti-corruption           purpose, stating:



       3       5 John           Bassett l\Ioore, A DZges/ qf Ill/ema/ional UW              S   651 (1906) (quoting Dutch
Republic regulation).
                       See Md. Declaration        of Rights of 1776, art. 32 ("That no person ought to hold, at
the same time, 1110re than one office of profit, nor ought any person, in public trust, to receive
any present from any foreign prince or state, or fi'om the United States, or any of them, ,\;thout
the approbation          of this State.").
            5          Articles of Confederation         of 1781, art. VI,   S   I.
            ,;         2 Farrand, 711e Records qf/he Federal Convention qf 1787, at 389.



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"It was thought proper, in order to exclude corruption               and foreign inOuence, to prohibit anyone

in office from recei\;ng            or holding     any emoluments        fi'om foreign     states,")    The     Framers

recognized the perils of foreign inOuence and corruption,                e\'en in situations subtler than quid Ilro

quo bribery, and they therefore created a hroad constitutional                   prophylactic    rule applicable       to

anything of value gin~n by any foreign go\'ernment to anyone holding an "Omee of Profit or

Trust under the United States." including the President.

           25,         Consistent   \\;th the intent of the Framers,       the Foreign Emoluments              Clause is

properly     interpreted      to coyer monetary      or nonmonetary       transactions,    Indeed, the text of the

clause bars the receipt of both a "present" and an "Emolument,"                   which together cover anything

of value,    including      "ithout limitation     payments,    transactions    granting   special     treatment,    and

transactions     abo\'e marginal cost. The clause also explicitly bars the receipt of "any present [or]

Emolument        ...     'if any kind Ilha/rver," emphasizing     the breadth    of conduct     co\'ered under the

prOVISIOn.


           26.         The Foreign Emoluments         Clause covers not only transfers of anything of \'alue

fforTI a king, prince, or foreign state indi\idually, but also any transfer from instrumentalities                    or

agents of a foreign state, This is in keeping with the considered                   \;ew of the Department             of

Justice's Office of Legal Counsel, whose constitutional interpretations arc instructive, though not

controlling."

           27.         The Domestic Emoluments               Clause. The Framers also intended                to prevent

the system of patronage, influence,               and rent-extraction      that predominated           in the colonial

gO\'CrIlors' ollices through a Domestic Emoluments                 Clause apply;ng to just the President. The


                       3 Farrand,   The Records 'if/he Federal Convention 'if 1787, at 327.
        B       Applicability of the Emoluments Clause and the Foreign Gifts and Decorations
Act to the President's Receipt of the Nobel Peace Prize, 33 01'. O.L.C. 8 (2009).



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clause provides that the President's               "Compensation"           shall not be increased or decreased,        and

that he may not receive any "other Emolument                       frol11 the United States, or any of them," during

bis term of onice. The clause tbus works to ensure tbat neitber states nor the federal gon,rnment

can '\,"eaken bis fortitude by operating on bis necessities, nor corrupt his integrity by appealing

to his a\'ance."9 And because the clause is specifically concerned \\;th the federal go,-enlmcnt as

well as the states, it docs not allow for Congress to consent to tbe President's receipt of additional

emoluments       beyond his salary. This ban on additional emoluments,                         Alexander Hamilton wrote,

would    ensure     that the        President     would    ha\'c    "no   /)e(lU1ia~1'   inducement to renounce or desert Ihe

illdejJtlldfll(f illtendedfor him    kr   the Constillltioll."10 Furtber, as recognized by judicial aUlhOlities, the

ban "addressed the Framers' concern that the President sbould not ba\"C the ability to com'ert his

or her onice for profit."

         28.        The Domestic Emoluments                Clause relleets the Framers' particular concern about

making       sure that    the nation's          powerful   chief executi\'e          remains    free from distorting    and

cOlTllpting influences that migbt hinder his ability to faitbfully execute his onice. The clause

accordingly     proscribes     emoluments         not only Ii'om states and the federal government,                 but also

their respecti\'c    instrmnentalitics       and subdivisions.

                                                             IV.
                                                   RELEVANT FACTS

         A.         The defendant's Foreign Emoluments                             Clause violations

         29.        Following       the defendant's        inauguration,          he continues       to own and control

bundreds of businesses throughout                the world, including hotels and other properties.             His business

empire compliscs         a multitude of different             corporations,         litnited-liability companies,    limited

         9
                    The Federalist No. 73 (Alexander Hamilton).
         III
                    Jd. (emphasis added).



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partnerships, and other entities that he owns or controls~ in whole or in part~ operating in the

United Stales and at least 20 foreign counlJies."                    His businesses arc loosely organized under an

umbrella          known as the "Trump        Organization,"          consisting of the Trump       Organization      LLC

d/h/a   The Trump             Organization   and The Trump Organization,              Inc., both of ".hicl, arc owned

solely hy him. But his interests also inclode scores of other entities not directly owned by either

Trump        Organization       emity but that he personally owns, OI\'I1Sthrough other entities, and/or

controls.    12   The defendant also has several licensing agreements                that prOlide continuing      110wsof

income. Through          these entities and agreements,              he personally benefits from husill(:Ss dealini,,"S,

and is (and "ill be) enriched by any business in which the entities he owns or controls engage

with foreign goycrnments, instrumentalities, and officials.

        30.           On January      I I, 20 17, the defendant         announced    a plan to tum "leadership        and

managemem"            of the Trump      Organization        O\'er to his sons Eric Trump      and Donald Trump Jr.,

as well as a longtime company executive.               13   Btu the plan did not include relinquishing ownersili/, of

his busincsscs or establishing a blind tnlSt.

        31.           The defendant      continues      to own-and         be well aware of the acti,ities        of-the

TrUlUp Organization and othcr corporations, limited-liability companies, limited partnerships,

and other entities in which he retains an ownership interest. Although he formed a trust to hold

his business assets, he may obtain distributions from his trust at any titTIc.H




          "      ~Iarilyn Geewax & ~daria Hollenhorst,                      Tmmp's    Businesses And Potential COilf/irls:
Sorting It Out, NPR (Dec. 5, 2016), http://n.prl2g2xZDP.
        "       U.S. Office of Gov't Ethics, Donald J. Trump, 2016 Executive Branch Personnel
Public Financial Disclosure Report (l\1ay 16,2016), http://bil.ly/2gBUwIV.
            13    Donald Tl1Imp's News COIiference:Full Tranmipl              and Video, N.Y. Times Gan. I I, 20 17),
http://nyti.ms/2jkFUPK.
            14        Da,id    Kravitz & Al Shaw, Tmmp Law)'er Cor!fi17nsPresidmt Can Pull jl1olll)' From His


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          32.        The defendant's    son, Eric Trump (who is also an advisor to the defendant's               trust),

initially indicated         that he would not communicate              \\;th    his father concerning      his business

interests. E,;C Trump           has now ackuowledged,         however, that he will prm'ide business updates to

the President on at least a quarterly basis.         IS


          33.        The defendant     has neither sought nor reeeived "Consent               of the Congress" with

respect to his receipt of presents or emoluments from foreign government officials. entities, or

instrUITICn tal itics.

          The District of Columbia's Trump International Hotel

          34.        The Trump       International        Hotel \\'ashington,      D.C. is located on Pennsyh'ania

A,'enue, N.\\'., just blocks from the White House. The defendant                        o\\ns and controls this hotel

through    VaI;OUS       entities.

          35.        The defendant,     through emities he o\\ns, receives payments made to the Trump

International     Hotel by guests \\ho stay in hotel rooms and patrons \\ho use the hotel wnues or

other goods or sen;ces ill the hotel.

          36.        The restaurant     BLT Prime is located in the Trump                  International   Hotel. The

defendant, through valious husiness entities, owns the restaurant, licenses the name from BLT

Prime, and pays BLT Prime to operate the restauranl.'"

          3-I.       Since the election, the Trump           International      Hotel has specifically marketed itself

to the diplomatic community.           On one occasion, barely a \\eek after the election, it held an event


Bllsinesses 'l7Ienever He IVallls, ProPublica (Apr. 4, 2017), http://bil.ly/2010~IJC.
        15     Jennifer Calfas, Eric Trump Sqys He'll Give Ihe Presidenl QyarlaiJ' VIdales 011 Bllsilless
Empire, Fortune (l\Iar. 24, 2017), hllp:/ /for.tn/2n2~IR.Xa;     Maggie Haberman & Glenn Thrush,
Tl1Imp Reaches Bf)'ond IVesl WillgJor COllnsel, N.Y. Times (Apr. 22, 2017), http://nyti.ms/2rsFqvk.
        16     Jessica Sidman, How DOllald Tl1Im/, Losl His DC Restallrants, \\'ashingtonian                      (OCI.
23,2016), http://bit.ly/2htYzq9.



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where it pitched the hotel to about 100 foreign diplomats.';              The hotel also hired a "director of

diplomatic sales'! to facilitate business with foreign slates and their diplOinats and agents, Iming

the director away from a competing hotel in \\'ashington.'H

        38.       In addition, the defendant has repeatedly appeared at the hotel since his election,

adding further media attention to the property and raising its public profile. Se\'eralligures                    in his

administration,    including Treasury Secretary Steve l\lnuchin           and Small Business Administration

Administrator     Linda !\Ic:\Iahon,      have also lived or continue to live in the hotel.'"

        39.       Diplomats and their agems hm'e \'oiced their intem to stay at (or hold e\"ems at)

the Trump       International   HOlel. "Believe me, all the delegations           will go there," one "l'\liddle

Eastern diplomat"       told the Washillgloll PO.lIabout the hOleP" An "Asian diplomat"              agreed: "\\'hy

wouldn't I stay at his hotel blocks from the \\'hile House, so I can tell the new presidem, 'I IO\-c

your new hotel!' Isn't it rude to come to his city and say. 'I am sta)ing at your             c0I11petitor?""2\


        40.       These statements have become reality. The Embassy of Kuwait, a foreign state,

held its National       Day celebration     at the Tmmp       International   H,;tel on Februal)'       22, 2017.22

Upon information         and belief, Kuwait paid for the \'enue, food, and olher sen ices prO\ided in



                                                                                                              ,
       "     jonathan O'Connell & Mary jordan,                  For foreign diplolllats, TnJlII/) hotel is place 10 be,
Wash. Post (Nov. 18,2016), http://wapo.st/2qukIgh.
         18       /d.
         '9      julie Bykowicz, TnJlII/) Holel JIa)' be Political Capilal '!fthe o\'alioll'.I Ca/)ital, Associated
Press (:\Iar. 5, 2017), http://apne.ws/2n2Rxfs.
        20        Id.
        21        ld.
           22      jonathan O'Connell, Kuwaiti Elllbm.!)' is latest 10 book T17IIIIpD.C. hole~ but alllbmsador
.I,!ys he Jell '110pressure', Wash. Post (Dec. 20, 2016), http://wapo.st/2p!\Itw21       ; jackie Northam,
Kuwail Celebratioll AI T17I1II/) Hotel Raises COllflict '!f IlIleresl Questions, NPR (Feb. 25, 20 17),
http://n.pr/2IavPoB.



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connection \\ith the celebration. The cost has been estimated at 540,000 to 560,000.23 Before the

election,        a "sa\"c the date" reservation       had been made with the Four Seasons                hotel, where the

event had pre\iously             been held'"' According to one report, the Embassy of Kuwait mO\'ed the

,,,'ent nnder pressure from the Trump Organization                      (though Knwait's ambassador          to the United

States denied being pressured).25 As a result, the Trump                        International   Hotel or its controlling

entities hm"c rerci\"cd ol1e or more payments                 from Kuwait after 12:01 pm onJanuary                 20, 2017.

            41.         Bet\\'een January      23 and 26, 2017 and dtning February              2017, the Kingdom              of

Saudi Arabia~ a foreign Slale, spent thousands                  of dollars on rooms, catering,       and parking at the

Tmmp             International      Hotel.    In a Foreign      Agents     Registration    Act report       filed with the

Department            of Justiee,    an agent representing        the Royal Embassy of the Kingdom                    of Saudi

Arabia reported           pa~ing the hotel $190,272            for lodging, $78,204 for catering, and 51,568 for

parking      between        October      I, 2016 and j\lareh          31. 2017, using money received               fi'om Saudi

Arabia.:?G Some           of the payments       were made after the defendant's           inauguration      as President.27

Upon information            and belief, Saudi Arabia paid at least 5250 per night for each of the rooms it

rented through its agent between January                     23 and 26, 2017,28 and paid the hotel for meals and


       23     Julia Harte, Kuwail could /iI!J' u/)               10   560,000 for jJar!)' al TrumjJ Hotel    ill    Washillglon,
Reuters (Feb, 27, 2017), hnp:/ /reuLrs/20FztKa.
            2'         Jackie Northam, I,uwail Celebration AI TrumjJ Holel Raises COllfliel of IlIleresl Qpesliolls.
         25      .Judd Legum & Kira Lerner, Under /IO/itica/ /)re.<.I'ure,hil1""il wncels mqjor a'enls al Four
Seasons, swilches 10 TnllnjJ's D. C. hOlel, ThinkProgress (Dec. 19, 2016), http://biLly/2rssRzj\1.
          26      j\lSLGROUP      Americas Inc, d/b/a         Qor"is j\JSLGROUP,    Supplemental
Statement Pursuant to the Foreign Agents Registration Act of 1938, as amended, for six month
peliod ending 3/31/2017,     filed j\lay 31,2017, http://bit.lyl2rAQjgE;   Chuck Ross, Saudis SjJenl
S270K AI TrumjJ Holel III l.J)b~)'ing Cam/migll Againsl 9/11 Bill, Daily Caller (June 4, 2017),
http://bit.ly/2sSKB7F,
         27        Byron Tau & Rebecca Ballhaus, TmmjJ Holel Received S270,000               From l.J)b~)'ing
Cam/Jail,ql Tied 10 Saudis, Wall Street Journal (June 6, 2017), http://on.\\'~j.coll1/2s42HH9.
            28          Isaac    Arnsclorf,    Saudis fool    lab al TrumjJ hole!, POLITICO              (Feb, 9, 2017),


                                                                 14
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other sen ices pro,'ided       in connection   with the stay. Saudi Arabia paid for indi,iduals               to ha,'e

dinner     at the hotel on January        23 and both breakfilst and dinner            on January      24.29 Upon

information     and belief, at least one of the meals was prO\ided by BLT P,ime. Upon information

and belief, Saudi Arabia paid the hotel through its agent for similar expenses associated "ith a

"isit in mid-February.3o As a result, the Trump International            Hotel or its controlling entities ha,'e

receiw.d one or more payments from Saudi Arabia, through its agent, after 12:0 I pm onJanuary

20,2017.

         42.       On or about April 6, 2017, Kaha Imnadze,                the Ambassador         and Permanent

Representati,'e     of Georgia to the United 1\'ations. stayed at the Trump            International    Hotel and

then tweeted his compliments about the hotel.31 Upon information                and belief, the goyernment          of

Georgia, a foreign state, paid the hotel for his room and other seniees prO\ided in connection

with his stay. As a result, the Trump International         Hotel or its controlling entities ha,'e recei,'eel

one or more payments from Geor[.,..;aafter 12:01 pm onJanuary               20,2017.

         43.       On information      and belief, after 12:01 pm on January                20, 2017, the Trump

International     Hotel or its controlling entities ha,'e recei,'ed and "ill continue to recei,'e payments

from other foreign states, instrumentalities of foreign states, or foreign officials.

         44.       OnJanuary      20, 2017, Trump Old Post OfIice LLC, the entity leasing the building

in which the Trump        International    Hotel is loeated and in which the defendant            has a beneficial



http://politi.co/2kZa6mS.
         29        Operations Order from Jason E. Johns, President of 1\'MLB Veterans Ad,'ocacy
Group, to fly-In Veterans regarding the Justice Against Sponsors of Terrorism Act Oan. 23-26,
201 7), http://bit.ly /20iHdIp.
         ~~o       Ross, Saudis Sjlent S270K AI Trump Holel   /11   Lobb;'illg Campaign Against 9/11 Bill.
          31       Kaha     Imnadze       (@kahaimnadze),      T"itter      (Apr.      6,     2017,    8:49     A;..1),
http://bit.lyl2oiF8Fd.



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interest, amended          its governing agreement        to pro\'ide that, during the defendant's          presidency,

the company \l"ill not make any distributions of profits to any entity in \l"hich the defendant has a

beneficial      interest    and    will credit   these    undistributcd      profits     to an    unrccovered    capital

contribution      account held for the benefit of the designated entities that defendant controls. This

amendment         is immaterial      to \l"hether the defendant           has \'iolated     the Foreign   Emoluments

Clause. The defendant             remains owner of approximately           77.5% of the Trump          Old Post Office

LLC (the remaining           shares arc owned by three of his children), and thereby benefits from any

amounts        deposited into the unrecO\'ered capital contribution              account.     He further may reeei\'e

disttibution     from those amounts       once he is no longer in    office.

          45.       Additionally,      by prO\iding      that the defendant's          contributions   "ill be used by

Trump Old Post Ollice LLC for business purposes, the amendment                           increased the value of one of

his assets.

          46.       Plior to taking omee, President Trump's           attorney promised that all profits earned

fi'om foreign gO\'erIunents would be donated                to the U.S. Treasury.          The Trump      Organization

later admitted,       hO\l"e\'er, that it was not tracking all payments                 that it received from foreign

governments,       and that   it plans only to estituatc, rather than calculate, such paynlcnts.32

          New York's Trump Tower

          47.       Trump      Tower    is a mixed-use skyscraper           on Fifth Avenue in New York City.

Through        the use of various entities, the defendal1l owns and controls Trump Tower and, through

entities he owns, receives payments          Blade to Trump Tower by tenants.




          32    Ari :\lelber, et aI., Trump Failing to Track Foreign Cash al His Holels, NBC Ke\l"s (:\lay
24,2017), http://nbcnews.to/2qWzv3x.



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        48.     One of the largest tenallls of Trump                Tower is the Industrial      and Commercial

Rank of China ("ICRC"), which is a Chinese majOlity-state-owned                 elllerprise.'"   As such, ICBC is

an instrumentality of a foreign slate.

        49.     After 12:01 pm onJanuary             20, 2017, Trump Tower or its com rolling entities have

received one or more paymcllls            from ICBC under its lease. Trump            To\\'er or its controlling

entities will eontinue to reeei\"C regular payments from ICBC under its lease agreement.

        50.     The       defend am     has repeatedly         referenced   ICRC's   Trump       Tower   lease   in

discussing his \ie\\'s of U.S.-China        relations. DUling his presidential campaign in June 2015, for

instance, the defendam stated: "I 100'e China! The biggest bank in the world is from China. You

know where their United States headquaners               is located? In this building, in Trump Tower."3'

Similarly, in :\Iarch 2016, when asked about China's territorial claims in the South China Sea,

the defendant told the Washington Post, "I do deals with them all the time. The largest bank in the

world, 400 million customers, is a tcnant nfmine in New York, in 11anhattan."35

        51.     The term ofICBC's           Trump Tower lease runs umil October 2019, before the end

of the defendam's      term. As a result, any negotiations for a renewal or extension of the lease will

occur while he is     sCfying   as President.   36


        52.     Trump Grill is a restaurant located inside Trump Tower that the defendant owns

through various business entities. Upon information and belief, tenants of Trump Tower,

including ollicials of China and other countries, have dined at Trump                  Grill as a result of their



      33     Caleb Melby, et aI., 1l7/en Chinese Bank's Tn/lIlj' Lease Ends, Potential Corif/ict Begins,
Bloomberg (Nov. 28, 2016), https://bloom.bg/20Q07T4.
        34      Id.
        35      Id.
        36      ld.



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tenancy    111   the Tower and the foreign states themselvcs may host e,'ents there, Accordingly,

foreign states or their instmmentalities             likely have paid or will pay for sen;ees   at Trump    GrilL

The defendant       has and ,,;11 continue to receive payments            from "al;OUS foreign states through

Trump GrilL

          New York's Trump World Tower

          53,      Trump \\'orld Towcr is a skyscraper on United Nations Plaza in Kew York Cit~"

containing condominium              units, Through     the usc of various entities, the dcfendant manages and

controls Trump           \\'orld   Tower    and, through     entities he owns, receives payments       made by

residents of the Trump              \\' orld Towcr    lor common    charges and handles     rental transactions

in\'ohing condorninium units.

          54,      In 200 I, the Kingdom         of Saudi Arabia paid S4,5 million to purchase a floor of

Trump \\'orld TowerY               The annual common charges for building amenities for the floor totaled

585,585 at the time, As of 2003, the most recent year for which information                is publicly available,

the Kingdom of Saudi Arabia paid monthly common charges of about S7,398-or                          S88,781 per

year. The floor currently belongs to the Kingdom of Saudi Arabia for use by the Saudi :vlission

to the United Nations, which upon information and belief continues to pay                  COlnmon    charges to

the defcndant,3"




          37     Stephen R. Brown, Donald Tnanj' made millionsfrom Saudi Arabia, bul IrashesHilla,y
Clillioll for Saudi dOllaliolls 10 Clinloll Foulldalioll, N,Y, Daily News (Sept. 4, 2016),
http://nydn,us/2bNEAq2,
          38       Id.



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        55.        In 2015, the defendant said about Saudi Arabia: "I get along great \\ith all of

them. They buy apartments from me." He further noted: "They spend 540 million, 550 million.

Am I supposed to dislike them' I like them very much. ":19

          56.      The Kingdom of 5audi Arabia is a foreign state, and the Saudi :\Iission to the

United l'\ations is an instrumentality of a foreign state.

          57.      In    2002,   the   Permanent     :\Iission   of India    to the    United   l\'ations,   an

instrumentality of a forei,,'!l state, paid 55.1 million to purchase two units in Trump World Tower

from the defendant."O As of 2003, the most recent year for which infortnation                     is publicly

'l\'ailable, the I\lission paid monthly common charges of approximately 53,63g-or                543,670 per

year. The units continue to belong to the :\1ission, which upon information and belief continues

to pay common charges to the defcndant.

        58.        In 2009, the Permanent          :\Iission of Afghanistan    to the United l\'ations, an

instrumentality     of a foreign state, paid 54.235 million to purchase a unit in Tmmp                  World

Towcr:"        As of 2003. the most recent year for which information             is publiely a\'ailabJe, the

common monthly charges for the unit purchased by the :\Iission were approximately 52,090 per

month-or         525,085 per year. The unit continues            to belong to the :\lission, which upon

information and belief continues to pay common charges to the defendant.

          59.      In 2004, the        Permanent     :\Iission   of Q'ltar    to the   United   l\'ations,   an

instrumentality of a foreign state, paid 51,995,000 to purchase a unit in Trump \Vorld To\\'er,


          39       Id.
        "0      N".Y.C. Dep't of Finance, Office of the City Registrar, Condo. Unit Deed: 845
U.l\'. Ltd. P'ship To The Permanent !\Iission of India to the U.N. (Dec. 23, 2002),
http:// on.nyc.gov/2pb80bx.
       "'     !\lax Abelson, •.!fj;hanistan B'9's $4.2 AI. Tmlll/' Condo (with 'Peacq,liness and Views'),
Observer (Sept. II, 2009), http://bit.!y 120Q74n3.



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and in 2012, it paid 58.375 million to purchase two additional units in Trump World Tower. As

of 2003, the most recelll year for which information            is publicly a\'ailable, the common monthly

charges    for the units purchased        by tbe l\Iission were a total of approximately                    55,660 per

month-or          567,920     per year. The   units continue     to bclong          to the ~Iission,       whicb   upon

information       and belief still pays common charges to the defendant.

          60.       The defendant,     through   entities he owns, recei\'es payments               made to Trump

World Tower by tenants and owners of units in the building through their payment of common

charges and other fees. On information            and bclief, these payments                include management      and

other fees paid to the building's managcrnent company, an entity owned by the defendant.

          61.       Trump      World Tower or its controlling      entities will continue          to recei\'c regular

common          cha;ge    payments   from Saudi Arabia,       India,    Afghanistan,          and Qatar,     and those

payments "ill flow to the defendant.

          62.       The World Bar is a bar located in Trump World Tower.

          63.       Tenants of the Trump \\'orld Tower, including oflicials from Saudi Arabia, India,

Afghanistan,       and Qatar ha\'e patronized (or will patronize) the World Bar. Further, foreign states

or agents or instrumentalities of these or other foreign states have hosted and will host events at

the \\'orld      Bar due to its location near the United Nations. By reason of his financial stake in

Trump \\'orld Tower, the defendant "ill either recei\'e pay,nents from foreign states made to the

World Bar, or the re\'enue that the World Bar recei,'es, including from foreign states, allccts the

amount of rent that the defendant is able to charge the \\'orld Bar.

          Chinese trademarks

          6+.       The defendant     began to seek trademark          protection     III   China for the usc of his

name in connection          "ith building construction   sef\ices in 2006. His application was rejected by

the Trademark            Office, and he subsequently     lost his appeals to the Trademark                 Review and

                                                         20
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Adjudication       Board, the Beijing Intermediate          People's Court, and the Beijing High People's

CourLI1 The defendant suflered his most recent court defeat in ~(ay 2015, the month before he

declared his candidacy for President.

          65.       Three weeks after his election, on December 2, 20 I6, the defendant spoke directly

with Taiwanese        President Tsai Ing-wen.43 That conversation              hruke longstanding      proweol and

suggested that the defendant           might end the "One China"            policy that the United States had

observed for decades. The defendant further indicated before taking ollice that he might end the

One China policy unless some henefit were recei'Td in exchange.H

          66.       On February 9, 20 I 7, however, the defendant             spoke with Chinese President Xi

Jinping   and pledged to honor the One China policy."                   Fi,'e days later, on February         14,2017,

China re,'ersed its prior course and gave the defendant trademark protection.

          67.       Chinese   law prohibits awarding      tradclnarks    that arc "the same as or sitnilar       10   the

Balnc orleaders      of national, regional, or international       political organizations.'"'fl

          68.       Even though China had denied the defendant trademark protection for more than

ten years, including in a ruling from an appellate eourt, and despite Chinese law barring the use

of foreign leaders' names as tradCInarks, China reversed course and decided to grant the

defendant       the trademark    he had sought and valued. But China did so only after he had been


        42      Erika Kinetz, Wilh Tmml"s will             ill   Chilla, will Tmmp loilels gel flushed? Associated
Press (Feb. 14,2017), http://apne.ws/2mfcK9:\'.
         H      Jordan Fabian & ~eetzan Zimmerman,                   Tmml' makes hisloT)' wilh I,holle call 10 Taiwall
leader, The Hill (Dec. 2, 2016), http://bit.!y/2prWnYu.
          H      Jordan Fabian & Evelyn Rupert, Tmml' promises Chillese presidelll he'll hOllor 'olle Chilla'
policy, The Hill (Feb. 9, 2017), http://bit.ly/2pbgZUW;            Laurel Raymond & Judd Legum,
Tnllllf/s lrademark lesls Chinese law, Think Progress (Feb. 18, 20 I 7), http://bit.!y /2pXHZTZ.
                    Fabian & Rupert, T mmp promi<es Chillese presidelll he'll hOllor 'aile Chillo'llOliC)'.
          46        Raymond & Legum, Tmml"s lrademark lesls Chillese law.



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elected President, questioncd the One China policy, was sworn in, and then re-afJinned the One

China policy.

        69.      The      trademarks   have     considerable       \'alue   because    they   gl\"e the    Trump

Organization     the sole right to profit from the Trump brand in China. China's granting of these

trademarks constitutes a present or emolument          provided to the defendant.

        70,      \\'hen    asked why the defendant      changed his position on the One China policy,

and whether he had recei\'ed something in exchange from China, White House Press Secretary

Scan Spicer answered: ''The President always gets something,"               but did not elaborate."

        International versions and distribution of "The Apprentice" and its spiiloffs

        71.      The defendant     carns royalties and other payments from the distribution               in other

countries of the tcle\;sion program     "The Apprentice"           and its spinons (including "Thc Celebrity

Apprentice"     and "The New Celebrity Apprentice,"            for which he is still an executive producer),

and also from international       versions. of the programs          produced    in other eoumries.       In some

instances, these payments originate from foreign governments or their agents or instrumentalities.

For instance, the defendam is paid for a \'ersion of the program "The Apprentice"                that airs in the

United Kingdom.'.         The network that broadcasts       "The Apprentice"          and spinoff shows in the

United Kingdom is an instrumemality           ofa foreign state.

        72.      After 12;01 pm onJanuary         20, 2017, the defendant has recei\"Cd and will continue

to rccch'e payments from foreign states via their payments for "The Apprentice"                   or its spinofTs




        47      l\!adcline Conway, Spicer on Trump's 'One China' agreement: 'The president always gets
something', POLITICO (Feb. 27, 2017), http://po1iti.co/2prZpfi.
         '8      wladcline Berg, Here's How Milch Donald TrumjJ Will Aam From I~'odllring 'Celebrit)"
Apprentice', Forbes (Dec. 13, 2016), http://bit.ly/2p YOS9h.



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and international \'ersions. Such payments constitute presents or emoluments that the defendant

has accepted and will accept from a foreign state.

        Other foreign connections, properties, and businesses

        73.       U"ited Arab Emirates.          The defendant's    company is engaged in several real-

estate projects in the United Arab Emirates, including Dubai's Trump              International     Golf Club,

\\'hich opened on February         18, 2017.''1 Upon infonnation     and bclief, the defendant,        through

\.arious business entities, has a branding-and-managerncnt             contract \\;th the property, and

thereby possesses a financial interest in the Trump International        Golf Club.

        i4.       All services for the golf club, including electricity, water, and roads, "come at the

discretion    of the government,"     and the "club's bar will need gm'ernment          approvals      to serve

alcohol, not to mention other regulatory issues.~'5(l

        75.      The golf club and other projects cannot be built or operated              without pennits,

utility, and other senices and approvals. These discretionary         apprm'als accordingly confer value

on the defendant,    through his financial stake in the company recei\ ing them, in violation of the

Foreign Emoluments       Clause.

        76.      Indonesia.        The defendant's company is engaged in at least two real-estate

projects in Indonesia, including redeveloping a resort in Bali.51 Upon information            and belief, the



       19     Sudarsan Raghavan, Tmm!"s SOilSgel red earlJeI IrealmCIIIal Dubai golf club ol,ming,
Wash. Post (Feb. 18,2017), http;!/wapo.stl2pY20tL.
        sn      Jon Gambrell,       Golf Club Shows Pi!fall, qf His Presiden!)', Associated       Press (Jan. 3,
2017), http://apne.ws/2jOgOVk         .
          .\1      Ian Jarrett, Pan Pacific makes w'lyfor Tiump ill Bali, Travel Weekly (Feb. 17, 2017),
http://bit.ly/2nU3A1''JN;RichardC.Paddock&EticLipton,Tmmp's                        !Ildollesia Prqjecls, Still
.IIoving Ahead, Crealf PolCIIlial COI!/lic/s, N.\'. Times (Dec. 31, 2016), http://nyti.ms/2kKSKLp;
Russ Choma, Tmmp's !Ildollesian Busilless Parlner Brags Aboul His Access, l\Iother Jones (Feb. 10,
20 17), http://hit.ly /2kttiql\'IC.



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defendant, througll       "cUIOUS    business entities, has a licensing-and-Inanagement           agreement ,,'ith

these pn:>jects. through which he possesses a financial interest in them.

        77.       Completing        the projects required or ",ill require permits and appro\'als from the

Indonesian go,'crnmcnt. The defendant \\ill receive \'aluc from these discretionary permits and

apprO\'als through his financial stake in the company recei\;ng them, in \;olation                 of the Foreign

Emoluments      Clause.

        73.       Other.      The     defendant   also owns,     operates,   and   licenses    numerous     other

businesses throughout        the United States and abroad, including other hotels, other properties for

sale or lease, and golf courses and c1ubs.52 Tbe defendant,              through   his financial stake in the

company       or companies     recei\;ng   them, derives \'alue from the foreign permits and approvals

associated     with the owning        and operation    of those businesses in \;olation           of the Foreign

Emoluments      Clause. In addition, revenues from foreign states' patronage            of his hotels, golf clubs,

and other businesses may flow to the defendant.                After 12:0 I pm on January          20, 20 17, the

defendant,     through    at least one of his vanous        businesses, proJlerties,    and other entities has

received one or more presents or emoluments           from foreign states and ,,;11 continue to do so.

        B.        The defendant's Domestic Emoluments Clause violations

        79.       As alleged     above,    the defendant     O\\TIS and controls       hundreds     of businesses

throughout     the country, including hotels and other properties. The defendant personally benefits

from the business dealings of these entities and agreements           associated ,,;th them, and is and ,,;11

be enriched by their business with state go\'Crnments or federal agencies within the scope of the

Domestic Emoluments Clause.




       52       U.S. Ollice ofCov't Ethics, DonaldJ Trump, 2016 Executi\'e Branch Personnel
Public Financial Disclosure Report (~-Iay 16,2016), http://bil.ly/2gBUwIV.



                                                       24
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        The District of Columbia's Trump International Hotel

        80.       On August 5, 2013, Trump            Old Post OfTice LLC, a business entity owned

primarily     by the defendant,     signed a GO-year lease "ith     the General    Seniees     Administration

("GSA")-an        independent     agency of the United States, whose administrator         is appointed by the

President-to      open a hotel in the Old Post OfTice Building in the District of Colnmbia.

        81.       More than 7G% of Trump Old Post Of lice LLC is owned by               PJT    Holdings LLC,

which is in turn O\\11ed almost entirely by the Donald J. Trump             Revocahle Trust, of which the

defendant is the sole heneficiary. The Trump International           Hotel \\'ashington,     D.C. is located at

this site. The defendant has not divested his interest in the lease since becoming President.

        82.       Section 37.19 of the Old Post Ofiice lease states: "No ...           elected ofTicial of the

Government       of the United States ...    shall be admined    to any share or part of this Lease, or to

any benefit that may alise therefrom."         A \iolation   of Section 37.19 is a non-monetary'        breach

and a default unless it is remedied "ithin        30 days after notice from the GSA. Accordingly,           the

defendant      has been in breach of the lease with the GSA since 12:0 I pm on January               20, 20 I 7,

when he became President.

        83.        Before the defendant's    inauguration,   the GSA's Deputy Commissioner           indicated

to Representatives      Elijah Cummings,     Peter DeFazio, Gerald Connolly, and Andre Carson that

the defendant     would be in \iolation     of the lease unless he "fully divests himself of all financial

interests in the lease" for the Trump        International   Hotel, which he has not done. Shortly after

the inauguration,     Norman      Dong, a GSA ofTicial appointed by former President Obama, hecame

acting administrator.     But less than a day later, the defendant          replaced   :'vIr. Dong "ith    Tim

Horne, who had coordinated          the GSA's transition with the defendant's     campaign ..\3


        53         Isaac Arnsdorf,     TnLlIIl) Picks Leader for Federal Agcllq   Overseeing His D. C. Hotel,


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           84.      Se\'eral weeks later, on ~Iarch     16,2017,    the defendant   released a proposed 2018

budget     increasing    GSA's limding, while cutting all (or ncarly all) other non-defense-related

agencies' budgets.54 One week after that, on ~larch 23, the GSA issued a letter stating that-

contrary     to the lease's plain terms-Trump           Old Post Oflice LLC "is in full compliance       with

Section 37.19 [of the lease] and, accordingly,          the lease is valid and in full force and elfect.""    A

significant portion of the letter IT\iews the purported            financial benefits of the lease to the GSA

and taxpayers-e\'en         though those benefits are immatelial      to the question of breach.

           85.      Attach cd to the ~larch      23, 20 I 7 letter was an amendment        to the agreement

governing        the business of Trump      Old Post Ollice LLC. This amendment           is the basis of the

GSA's position that the tenant is in eomplianee with the lease, but the letter does not explain how

the amendment         blings the tenant into compliance.        In fact, as described above, the amendment

does not prevent the defendant from recei\ing "any benefit" from the lease, and Trump Old Post

Ollice LLC remains in breach of the lease.

           86.      In forbearing   from enforcing the Old Post Ollice lease's default and ternlination

procedures, despite the tenant's breach of its ternlS, and in cooperating with the tenant in

attempting       to create the appearance     of compliance     with the lease, the federal gm'ernment       has

giycn the defendant an emolument           in \iolation of the Domestic Emoluments Clause.

           87.      Additionally,   the defendant,    through    entities he owns, is seeking a S32 million

historic-preservation      tax credit for the Trump      Intemational    Hotel. Approval of this credit is at




POLITICO          Gan. 26, 2017), http://politi.co/2psg!\lfU.
        51    Ollice of ~lgmt. & Budget, Exec. Ollice of the President, America First, A Budget
Blueprint to Make America Great Again (2017), http://bit.ly/2J1\jrBO.
      55     Letter from Ke\in 1\1. Terry, Contracting Oflicer, United                    States Gen. Sen's.
Admin" to DonaldJ Trump,j •..(Mar. 23,2017), http://bit.ly/2nhKf.'lB.



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the discretion of the National Park Sen;ce, an instrumemality of the federal goyernment now

under the defendant's authm;ty.';'; If approyed, the tax credit would olEet approximately 20";', of

the cost of rehabilitating the building in which the Trump Intcrnational Hotel is operating.

       88.     On NO\Tmber 14,2016, the defendant receiwd appro,'alli'OITI the National Park

Seryice for the second phase of the thrce-step-approyal    process. If final appro,'al is granted, it

may constitute an emolument, in "iolation ufthe Donlcstic Emoluments Clause."

       Mar-a-Lago Club

       89.     The Mar-a-Lago Club is a priyate club and estate located in Palm Beach, Florida.

It is comprised of 20 acres ofland, \\;th a main mansion of oyer 100 rooms, along with a beach

club, pools, tennis courts, aDd a 20,000 square foot hallroom for priyate eyents. The estate itself

was purchased by the defendant in 1985. A decade later, in 1995, the defendant opened the club

as a hotcl and resort for dues-paling members of the public. It is owned by the defendant directly

or owned by entities that he directly controls.

       90.     The defendant, through entities he owns, recei,'es payments made to the ,,[ar-a-

Lago Club by members and guests who join or ,;sit the club, or rent space there, or pay for other

goods or sen;ces at the club.

       91.     Membership       in the ;..Iar-a-Lago Club reqUIres payment of an initiation fee of

$200,000, plus tax, as well as 514,000 a year in annual dues. This fee was doubled follO\,;ng the

defendant's election as President-an     increase from $100,000 to 5200,000.51 Since his election,




     S6        Eric Le';tz, Tmmp It'on the Presidem)', 17lenAPIJToralon a Tax Subsiq)'for His Hotel,
New York ;..Iag. (Nov. 30, 2016), http://nym.ag/20FFl09.
       57       Robert Frank, Mar-a-Lago Membership Fee Doubles to S200, 000, CNBC Gan. 25,
2017), http://cnb.cxl2kjIc2j.



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the defendant has also attempted to capitalize on his office by ad,'ertising his private property to

foreign governments and indi\iduals.

           92.    The State Department      and at least two U.S. Embassies-those       located in the

United Kingdom         and Albania-ha,'e     promoted    the :-Iar-a-Lago   estate and club on their

respecti,'e websites by posting a 400-word blog post, originally mitten by Leigh Hartman for a

State Department-managed        website, "Share America," on Apli14, 2017.'"

           93.    The State Department      and embassies' actions h'l\"e ,erwd   to promote :-'Iar-a-

Lago as the defendant's "Florida estate" and claimed that it "has become well known as the

president frequently travels there to work or host foreign leaders."'"

           94.    The State Department is an executi,'e department within the federal government

under the defendant's authority.

           95.    ShareAmerica,    the blog for which the post was originally written, is specifically

direrled towards foreign indi,'iduals and gowrnments."o

           96.    This po,t advertising 1\lar-a-Lago has since been removed from the wehsites of

the State Department and the embassies, but not before substanti,'e, world-wide advertising of

the defendant's private property, using government resources, had occurred.

           97.    The defendant has used his official position as President to promote his 1\lar-a-

Lago property. He has designated :-Iar-a-Lago as the "\\'inter \\'hite House," and also refers to it



      :,"          Darren Samuelsohn, Slate Departmfll~ U.S Embassies Promolillg Trump's ,I/ar-a-Lago,
POLITICO         (Apr. 24, 2017), http://politi.co/2peC7Jb.
           59 Mar-a-Lago:   'He wiT/ler 1l7,ite HOllse, http://bit.Iyl2pa\\'tRK       (blog post
subsequently remoYCd; fanner blog post shown at Dan Merica, Stale DejJartmfTll removes .\lar-a-Lago
blDgposl, CNN (Apr. 25, 2017), hllp:/ / enn.it/2pdRu2x).
           60     About Us, ShareAmerica, IlItps:/ /share.america.gov/about-us/     (last visited June 9,
20 I 7).


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as the "Southern    White House."'iI Since taking office, he has \;sited l\lar-a-Lago   on at least seyen

occasions, and has met with a number of foreign leaders there, including Japanese                  Prime

l\linister Shinzo Ahe and the President of the People's Repuhlic of China, Xijinping62

        98,     Upon     information   and belief, federal,   state, and local goyernments,     or their

instrumentalities, ha\'c nlade and \\;11continue to make paynlcnts for the use of facilities owned

or operated   by the defendant    for a yariety of functions, The defendant will recei\'e a portion of

those payments, which constitute emoluments prohihited by lhe Domestic Emoluments Clause.

        99.     Although the exact extent of these emoluments       is not currently known, examples

of current or potential \;olations include "public pension funds in at least se\'en U.S. states"-blll

not the State of l\laryland   or the District of Columbia-that    "haye im'ested millions of dollars in

an im'estment      fund that owns a New York hotel and pays one of President            Donald Trump's

companies to run it, according to a Reuters rc\;ew of public records."63 And the defendant has




          61      See, e.g., Press Briefing by Press Secretary Scan Spicer (Feb. 2, 2017) ("Luckily, for
those of you who are going to be joining the President down to ~lOl;da this weekend, you'll get
some lime to get a glimpse of summer at the '\\'inter \\'hile House' in I\lar-a-Lago."),
http://bit.ly/2k5Q3IZ;        Remarks by President Trump in Listening Session \\;th the National
Association of :\Ianufacturers (:\Iar. 31, 20 I 7) ("The President: ... As you know the President of
China is coming to FJOI;da. We're ha\;ng a meeting-big             meeting-at   I\lar-a-Lago. We call it
the Southern \Vhite House, which it actually is. It was originally built as the Southern \\'hite
House, a 101of people don't know."), http://bitJy/2rUHOZL
          62    See Background Briefing by Senior Administration Officials on the Visit of
President Xi jinping       of the People's Republic of China (Apr. 4, 2017) ("SENIOR
ADI\IINISTRATION          OH1CIAL:        I'm certain it was President Trump's imitation thaI they
meet outside onVashington,       D.C.-     you know, you\'e heard people refer to it as the '\\;nter
\\'hite House.' It's a place where he fecls comfortable and at home, and where he can break the
icc with Xi jinping          \\;thout  the formality,    really, of a Washington        meet-up."),
http://bitJy I2n VQy26.
        63    julia Harte, Exclusive: A New link holf! deal shows how some public j>ensionji11lds help to
enrich Tmmp, Reuters (Apr. 26, 2017), http://reut.rs/20IONEp.



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recei,'ed (or will likely reeei,'e) a host of other potemial emolumems                             from fcdcral, statc, and/or

local governments.

           C.            Post-inauguration premium for the defendant's goods and services

           100.          Sincc the dcfendam's            inauguration    as President, goods and scr"ices sold hy his

,'mious Trump husincsscs ha,'e sold at a premium. Thc dcfcndant's                               high officc !,>i,'esthc Trump

brand greater prominence                   and exposure.      ~lorco\'cr, these goods and senices pro\'idc (or ha\"c

thc potcntial           10   prmidc)      a unique bcncfit: access to, influence on, and the goodwill of the

President of thc United States.

           J   0 I.     Thus, for example, the starting rate for "guest rooms" at the defendam's                       Old Post

Office hotel increased              10   5500 on most nights, up hundreds of dollars from when the hotel first

opened shortly before the defendant's election'"'

           102.          Further, as discussed earlier, the initiation fee for membership                 at defendant's     l\Iar-

a-Lago resort doubled from 5 I00,000 to 5200,000 shortly after he was eleCled'",;

           D.            The plaintiffs' interests in this litigation

           103.          The plaimifTs' imerests in this litigation are substantial. They arc harmed by the

defendant's           constitutional      \;olations     in at least two distinct ways. Fin/, they have suffered               (and

"ill continue            to suffer) harm         to their so,'ereign     and/or      quasi-sovereign       imerests,   including

:\laryland's          interest in presef\ing           its rightful status "ithin      our fedcral system; the plaintiffs'

interest       in not being            subjccted       to unfair   competition      by ,irtuc       of ongoing    ,iolations      of

constitutional          prmisions        designed to guard against corruption           and   10   protect interests distinct to

the states themselves;           the plaintifis' interest in protecting          their ecollOlnies    and their residents      frOill



           6'   The Associated Press, T rumj} Hotd Jfqy He Po!itica! Capita! q[ Nation's                                   Capita!,
Fortune (:\lar. 5, 2017), http://for.tn/2rsCsXI.
           65            Robert Frank, Mar-a-Lago membershipJee doubles to $200,000.



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economic harm; and :\Iaryland's                interest in preselying its tax revonue, Second, the plaintiffs have

suffered (and ,,;11 continue             to suffer) proprietary      and other financial hanns as a result of the

defendant's         ongoing constitutional       \;olations,   These injuries can be redressed by a declaration

that the defendant          is in \;olation    of the Emoluments         Clauses and an injunction preventing          his

continued \;olation of them,

           Sovereign and quasi-sovereign injuries to the plaintiffs

           10.• ,     Maryland's          sovereign      interest      in enforcing the tenns              on which it

agreed to enter the Union. Before adopting the federal Constitution,                         :\Ial)'land    and its sister

states were truly independent                 sO\'ereigns. 1\lany of these states-including           :\Iaryland-had

incorporated         protections      against public corruption       into their own legal codes and constitutions,

with specific prohibitions            on public ollicials accepting payments         from federal, state, or foreign

go\'ernments.        The 1\laryland Declaration          of Rights, adopted AUl,,'llStI.•, 1776, prO\'ides that "all

persons invested ,,;th the lq".;slati\'e or exeeUli\'C powers of government                   are the trustees of the

public,"        and contains       a precursor     10   the U.S, Constitution's       Emoluments      Clauses,"" This

precursor        combines the concerns of the two c1auscs into a single prohibition:                 "That no person

ought to hold, at the sanlC tilne, J110rc than one office of profit, nor ought any person,                      in public

trust, to rccei\.c any present from any foreign prince or state, or from the United States, or any of

them, ,,;thout         the approbation        of this State,""7 The 1\lal)'land       Constitution    of 1776 further

pro\idcd        for banishment        "[oreyer" as a potential      punishment   for a governor   sharing "directly or




           66         1\ld. Declaration      of Rights of 1776, art. .• (Aug, 1.•,1776).
           "7         !d., art. 32.



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indirectly" in the profits of another office, and also prohibited the governor fi'OlTIrecei\ing part of

the profits of supplying the army and nmy,68

         I05.     l\la~'land's historical    prohibition        against   forcib'll and domestic cI110lumcnts         is

consistent \\ith the constitutions      adopted by the other colonies at the time, The Pennsyh'ania

Constitution     of 1776, which Benjamin franklin           helped draft, made clear "[tJhat gO\'ernment is,

or ought to be. instituted for the common benefit, protection and security of the people, nation or

cOlTImunity; and not for the particular enl0Iun1(~nt or ad\'antagc              of any single man, family, or sett

of men, who arc a part only of that community"'6!> The South Carolina Constitution                         of 1776,'''

and the Massachusetts        Constitution   of 1780," contained           similar prohibitions   against corruption

of public oflieials,

         106,     The prohibitions     contained      in the Domestic and foreign            Emoluments       Clauses

were thus material inducenlcllts to the states entering the union. As a stale sovereign, l\laryJand

retains its power to bling suit to enforce those prohibitions today,

         107,     The plaintiffs'       goven,mental              interest     in not being compelled               to

compete         improperly      for   influence       or favor.           As explained     above,    the   Domestic



        68        ~ld. Const. of 1776, arts. 33 and 53.
         6!>      Const. of Pa" Declaration of the Rights of the Inhabitants of the Commonwealtb
or State of Pennsyh'ania, art. V; .lee alw id, at ~ 36 ("As e\Try freeman to preserve his
independence, (if without a sufficient estate) ought to ha\'e some profession, calling, trade or
farm, whereby he may honestly subsist, there can be no necessity for, nor use in establishing
offices of profit, the usual effects of which are dependence and senility unbecoming freemen, in
the possessors and expectants; faction, contention, corruption, and dborder among the people.
But if any man is called into public seniee; to the prejudice of his-private affairs, he has a right to
a reasonable compensation: And whencver an oIliee, through increase of fecs or othendse,
becomes so profitable as to occasion many to apply for it, the profits ought to be lessened by the
legislature, ").
         iO       S.C. Const. of 1776, art. X.
         il       ~[ass. Const., eh. II, art. XIII.



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Emoluments Clause in particular reflects the Framers' deep concern that one or r110rcof the

states (or the federal goyernment)        might seck to buy ofT the President so that he would exercise

power to their ad,'antage        and to the detriment    of other states, thercby disrupting the balance of

po,,'er in thc federalist system. Thus, thc Domcstie Emoluments                Clause aims to preyent "the

United States, or any of thcm," from fecling compelled (or being compelled) to conler pt;,'ate

financial benefits on the President in order to compcte for inlluence and favor.

        108.    The District and lIlaryland each hal'e a gm'crnmental            interest in thc enforcement

of their respective laws regarding taxation, ctl\.iromnental protection, zoning, and land use as

they relatc to real propcrty that the defendant or the "Trump          Organization"     may own or seek to

acquire. The defendant and his afJiliated enterprises ha,'e a large and expanding portfolio of real-

estate holdings,     including    a hotcl in the District, and the defendant's         Trump   International

Realty, othem;se       known as 'I' International       Realty LLC, is registered to conduct business in

lIlmy'land,72

        109.       Real-estate   acquisition,   ownership,   and development     implicate a range of legal

requirements    under the laws of the District and :'-Ialy'land, including tax laws that generate

revenue for the District, :'-Iaryland, and their instrumentalities.       The defendant     has boasted that

he has achieved success in real-estate acquisition and development by using his financial clout

and political connections         to extract from governments        maximum concessions,        exemptions,

waivers, and variances ,\;th          respect to taxes and other requirements            inlposcd   by 1aw.73



        72    :'-Id. State Dep't of Assessments and Taxation,          :'-Id. Business Express, Registration
for Trump International Realty, http://bit.ly/2qXZWpQ
        73        Geraldine Baum, Tom Hamburger & Michael j. :\Iishak, Trump has thrived with
gnve771mfllt'sgenernsi{r, L.A. Times (May II, 2011), http://lat.ms/ I UG:'-ltc8;jillian Kay Melchior,
Donald Trump Has Mastered the Art '!f the Tax Break, National Review (Aug. 19, 2015) ("Trump has
long sought subsidies, tax breaks, and other preferential treatment from the govcrnment."),


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Indications        to date suggest that this longstanding           practice of the Trump      Organization    did not

cease upon          the defendant's       election     to the Presidency;      rather,   there is e,;dence    that the

defendant's ascendancy to the highest office in the land has enhanced his organization's                      ability to

\\;n concessions       {i"OIll   governments with respect to his properties. i-l

          I 10.      The defendant's       acceptance      or receipt of presents and emoluments       in violation of

the Constitution        presents the District and ;\la".land         "ith an intolerable dilemma: either (I) grant

the Organization~s          fequests for concessions, exemptions, wai,"crs, variances, and the like and

sufler the consequences,             potentially     including lost re'.enue    and compromised      enforcement      of

em.ironmental         protection,      zoning, and land use regulations,         or (2) deny such requests and be

placed at a disad,.antage            ,.is-il-\;s slates and other gO\.ernment entities that have granted or ,,;11

agree to such concessions.             Either "ay, the result is the ,"Cry type of injury that the Domestic

Emoluments          Clause "as designed to prevent.

          I I I.     ~loreO\.er, the District and l\laryland,         "hich rank tirst and fourth, respectiwly,       in

per capita amount            of federal government          expenditures,   are particularly    susceptible to inju".

resulting from budgeta".             decisions that are subject to the corrupting         influence of emoluments.75

Federal funds make up approximately                     25% of the District's       fiscal year 2018 budget,'6     and

~la".land       is rely;ng on federal lunds for nearly 30% of the State government's                 budget for fiscal




http://bit.ly      I Irher3Y.
         7-1          1\,1ichacl LaForgia & Steve Erler, ll'71f1l 77wl FeisfJ'jYeighboT Becomes the President, N.Y.
Times (~Iay 6, 2017), http://nyti.ms/2qXUxP,,.
          7.\    U.S. Dept. of Commerce,                 Consolidated Federal Funds Reportfor Fiscal Year 2010 (Sept.
20 II) at 23, 32, http://bit.ly 12r6mJRe.
          76    Council of the District of Columbia, Committee of the Whole, Re/)ort on Bill 22-
241, tIze "Fiscal Year 2018 Federal Portion Budget Request Act rf 2017" (May 30, 2017) at 2,
http://bit.!y 12s0x6Fz.



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year 2018."         Federal gOyernmelll spending accounted               (,", more than 42% of the District's gross

domestic product and more than 28% of ~laryland's                       in fiscal year 2014.'8 Both the District and

~Iaryland         are home to headquarters         for federal agencies.         Ci,ilian   federal agencies employ

approximately         17% of the workforce in the District         79   and 10% of 1\laryland's total work.f,)rceHO

Federal agencies annually haye spelll more than 521 billion for procurement                        in the District and

more       than     526 billion for procurement            in ~laryland81      Gi\'Cn this significance     of federal

government          spending   and operatioI1s~ and the President's           significant   role in detennining   how,

when, and where federal funds arc spent, the connict of interest inherent                          in the defendant's

receipt of emoluments          directly and profoundly alrects the District and ~Iaryland.

            112.      The plaintiffs seek to protect this distinct illlerest, and thereby ,indicate          their role

as governments         in our constitutional   SChCI11C.


            I 13.     The plaintiffs'    interest in preventing            econonric injury to their residents

and their eCOJlOnries,The District is home to 680,000 residents, while the State of ~Iaryland

is home to o\'Cr 6. I ntillion residents. Residents ofbuth the District and ~laryland                  participate in a

thri,ing     hospitality industry that comprises a substalllial part of the plaintiffs' economics.                 For




         "      ~Id. Dept. of Legislati,'e Sen ices, 171e 90 Dqr RelJort: A Review qf the 2017 Legislative
Session at A-3, A-28, http://bit.ly/2r6gIEs.
       78        Pew Charitable Trusts, Issue Bride Federal S/lfnding in the States 2005 10 2014 (~Iar. 3,
2016) at 6, http://bit.ly / I QIOq43.
       79     Office of Personnel ~lanagcment, Data, Analysis & Documentation:      Federal
Employment Reports (Sept. 2015), http://bit.ly/2qZWcRE;     District of Columbia, Wage and
Salary Employment by Industry and Place of Work (Dec. 2015), http://bit.ly/2raF]hF.
         80      John Fritze, Tmmp's Brlt{get Suggests .I1qjor Changes in Md., Baltimore Sun (1\lar. 16,
20 17), http://bsun.mdl2r6nl    Yk.
       81       U.S. Dept. of Commerce,              Consolida/ed Fedaal Funds Reportfor Fiscal Year 2010 (Sept.
2011) at 37, 48, http://bit.ly12r6n1JRe.



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example, in 2014, visitors         10   the District generated approximately        56,81 billion in spending'" and

drm'e 53,86 billion in \\'ages83 for 74,570 employees in the District's hospitality industry.'''                        In

l\laryland,     lOurists and travelers spent nearly 5 17 billion in 2015, yielding S5,7 billion in \\'ages

for more than 140,000 employees,8; including more than 72,000 hospitality industry \\'orkers

employed in the t\\'o Maryland counties that border the District of Columbia'""                      Both the District

and :\la!)'land     regulate competition         and transparency      in this indust!), through la\\'s that prohibit

anticompetiti\'c or deceptive practices and protect consumers.

         114,       Residents of the District and :\la!)'land            arc injured by the payment          of presents

and emoluments            10   the defendant      because      it tilts the competitive   play;ng field to\\'ard       his

businesses; causes competing companies and their employees to lose business, wages, and tips;

and generates        a range of market           distortions    that restrict and curtail opportunity,         diminish

revenues and earnin,gs, and hanlper competition.

         lIS,       The Distr;ct and l\laryland         ha,'e the authority and right     10   "indicate their intcrest

in providing and presen;ng              a b'el   play;ng field in the hospitality indust!)', and in ensuring that

their   residents     are free from          the injuries      and   competitive   disad,'antages     that   no\\' from

dcfendant's ,;olations of the Emoluments               Clauses,




         82     Office of the Deputy :'vlayor for Planning and Economic Development,                          Hos/lila!il)'
alld Tourism, Imps:/ / dmped,dc.gov/page/hospitality-and-tourism.
         83         Id.
         84         Id.
         SS       l\ld. Tourism Development              Board, Fr 2016 Tourism Deve!o/,menIAllllua!         Report Gan.
4, 20 I 7) at 3, http://bit.ly /2rOk3Ra.
          So      Md, Dept. of Commerce, MOlltgomery COUllf)',Md,: Erig Ecollomic Facts (2017) at 2,
http://bit.ly/2rFHvG2;:\ld,       Dept. of Commerce, Prillce Gco~~e's COUllf)',Md,: Erig Ecollomic Facts
(2017) at 2, http://bit.ly/2sY6P8e,



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             116.      Maryland's           sovere'gn          interests       '" tax      revenues.         The      defendant's

,;olations      of the Emoluments           Clauses     also il~jurc :\laryland's       interest in prcscf\;l1g     tax rc"clluc

for the benefit of its residents. For example, National Harbor is a resort development                                with hotels,

a casillol restaurants,         cntenainrncnt,       a malina,    and shops located on the Potomac              Ri,'er in Prince

George's       County, I\laryland.          Although ~[aryland          docs not own National           Harbor,       the \'arious

hotels and other businesses in the complex generate significant tax revenue for state and local

go,'ernnlcnts,        through income tax assessed on the businesses                 and their employees,         sales lax, hotel


tax, and other taxes and fees.

             117.      The National         Harbor     de\'e1opment         includes ~IGI\I National          Harbor,     a hotel,

entertainment,         shopping, and casino complex that is subject to a Community                           Benefit Agreement

betwecn        ~"IGM National           Harbor,      LLC, and the government               of P,ince George's           County,     a

subdi\'ision         of the    State    of ~Ial')'land,B7 The           Community         Benefit    Agreement          sets goals

encouraging          I\IG~I National Harbor to hire Prince George's County residents, to contract with

minority       business       enterprises    and      other    businesses     located    in the     County,     and      to create

im'estment          opportunities      for County residents, The casino is operated                 under a gaming license

granted      by the ~laryland Lottery and Gaming                   Control     Commission,        a state go\'crnnlclll     entity.

Under ~Iaryland law, the state and local gO\'ernments recei\'e 56% of the proceeds generated by

~IGI\I National Harbor's \'ideo lottery tenninals and 20% orthe gross proceeds generated by its

table games,"B In the first four months                       of 2017, I\IG1'v1 i\'ational        Harbor's     casino proceeds

contributed         more than 575 million in revenue to state and local go\'ernment                           treasuries to fund



       87      See County Council of Prince George's County, Md" Resolution 1\0, CR-68-20 14
Duly 23, 2014) (apprO\ing Community Benefit Agreement), http://bit.ly/2rotRaS,
       88      l\ld, Code Ann" State Gov't ~ 9-IA-27; l\ld, LotteI')' and Gaming Control
Agency, Maryland Casinos Generate 5135,7 Million ;n Revenne During April, http://bit.ly /2s8zSsD,



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,'a,ious public pllll'0ses, including more than S55 million for the State's Education Trust Fund.""

Any   circlltl1stanre    that inlpairs    National     Harbor's         ability   to attract   \isilOfS   and guests    \,ill

diminish the re"enues on which the state and local gm'ernments                      dcpend.

         118.      Trump      International    Hotel, located           in the District of Columbia,          is a direct

competitor      of National Harbor's     hotels and othcr businesses, including ~IG~I National Harbor.

Those hotels and businesses suffer competitive                 harm by the defendants'           ongoing constitutional

Yiolations, and ~laI)'land's tax caflers, in turn, arc              dinlinishcd as a rcsult.90

        Proprietary and other financial injuries to the plaintiffs

        119.       The District of Columbia. The Disllict has a financial intcrest in properties,

venues, and bther enterprises locatcd within the District as owner. lender, or landlord.

         120.      The     District   owns     the   "'alter         E. Washington        Com'ention        Center.    The

Washington       COIl\'cntion and Sports Authority (also known as Events DC), is an instrumentality

of the government        of the DislIict of Columbia.          E\'ents DC operates event and conference venues

in the District, including        the Walter     E. \Vashington           Convention      Center,    D.C. Armory,       and

Carnegie Library.

         12 I.     The District, through E,'ents DC, scrves the diplomatic                     community      and foreign

and state governmcnts        by prmiding      seniecs that compete with those owned or controlled by the

defendant or the Trump Organization.

         122.      In fiscal year 2016, E,'ents DC generatcd                      over S30 million in revenue          from

building rental and ancillary charges. A portion of E,'ents DC's revenue is based on demand for

the Convention      Center, D.C. Armory, and Carnegie Library.

        89         Id.
        "0    Benjamin Frced, AfGAf Sql's lis National Harhor Re.,"r/ Will 'Blow Awa/                                 Donald
Tn/mp's DC Hotel, Washingtonian (Jan. 20, 2016), hllp:/ /bit.ly/2qXV7g6.



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        123.    On August 9, 2016, the Embassy of Colombia partnered           with the U.S. Soccer

Foundation     to host an Olympic watch party at the Carnegie Libra".          for the soccer match

between the U.S. ,,"omen's National team and ColombiaY'

        124.    On    September   6, 2016,     the Embassy      of T~ikistan   celebrated     Tajikistan

Independence Day at a reception hcld at the Carnegie Libra".'"'

        125.    As discussed above, Trump       International   Hotel \Vashington,   D.C., specifically

markets its hotel rooms, event spacc, and food and be,.erage services to the diplomatic

community and foreign gO\.ertu1Jcnts.

        126.    Thc defcndant, his family, and other members of the defendant's administration

ha,.e continued to promote his hotel properties, such as by making multiple appearances at tbose

properties, including in connection with oflicial business.

        127.    Since the defendant's inauguration,     foreign governments (including the Embassy

of Kuwait and the Kingdom of Saudi Arabia) h",.e held cvents at the hotel, and public oflicials

have stated that, since the defendant was elected president, they are more likely to pay for goods

and sen.ices at the defendant's properties in an attempt to curry favor with him.

        128.    The defendant's   receipt or acceptance of presents or emoluments           through the

Trump International    Hotel \\'ashington,   D.C. and other properties owned or controlled by the

defendant or the Trump      Organization     has resulted in a competitive injury to the \\'alter     E.

\\'ashington   Convention Center, D.C. Armo"., and Carnegie Library.




         91      Olympic Watch Party, US Soccer Foundation website (last visited june 10, 2017),
http://bit.ly /2auR..t'1lm.
                  Tqjik IndflJflldence, Washington Diplomat Facebook page (last visitedjune    10,
2017), http://bit.ly/2d\lR3z8.



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          129,      The District's interest is further injured by the loss of the economic ,'alue of its

brands in compaJison           to defendant's      brand, as foreign and state governments         and their agents

and instrumentalities favor his businesses for reasons related to the defendant's receipt or

acceptance of presents or emoluments.

          130,      The State of Maryland.               ~Iaryland    has a proprietary      interest m properties,

venues. and enterprises that directly compete ,,'ith those o\\'ned or controlled by the defendant or

the Trump Organization,            ~Ialyland      suffers economic loss because its enterprises are placed at a

competitive       advantage     as the result of the defendant's        ongoing ,iolations     of the Foreign and

Domestic Emoluments            Clauses,

          131.      Specifically, ~Iaryland        has a dircct financial interest in the i\lomgomcry          County

Conference       Center, part of the Bethesda North ~Iarriott            Hotel and Conference          Center located

in Bethesda, ~Iaryland, The site of the hotel and conference center is o\\'ned by the !\Iontgomery

County Re,'enue Authority, a public corporation                  established by ~lomgomelY      County. \\'hich is a

subdivision      of the Statc of ~la,,'land,        The County       Revcnuc    Authority    leased the conference

cemer portion of the site to ~10ntgomery                County and to the ~la,,'land        Stadium AuthOlity. an

instrumentality      of the State,93 as equal tenams-in-common            to de"elop the conference center. The

development        of the conference        center \\'as funded       through   bonds issued by the i\laryland

Stadium        AuthOlity.     separate    bonds    issued by the County         Revenue     Authority,     and direct

contributions      from ~10mgomelY County, The County Re,'enue Authority also leased the hotel

portion of the site to a consortium            of private investors that funded the development           of the hotel.

The hotel and conference center are overseen by a management                              comnlittec     that includes

representatives      of ~lontgomery       Coumy and the i\laryland        Stadium Authority. and the facility is


          93        Md, Code Ann .• Econ. Dev. ~ 10-604 (2008 Repl. Vol.),



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operated by ~\Ian;olt Hotd Sen;ces,           Inc., under an agreement   with ;,Iontgomery    County. The

conference center ofrers approximately         39,000 square feet of meeting space. In fiscal year 201 G,

acti,.ities at the conference center generated, directly and indirectly, an estimated S45.9 million in

spending, and ~;elded estimated tax IT'Tnues of more than S2.7 million for the State and nearly

S I million for ;,Iontgomery      County."'

           132.    Furthermore,    as explained   above, the State of ;'da~.land    has suffered financial

harm because it has a soverei,,'" interest in the receipt of tax revenues from facilities (like tbe

National      Harbor) that are in competition      with businesses owned by the defendant        and/or     his

affiliated enterprises outside the State.

           133.    The declaratory    and i'1iuncti,.e relief that the plaintifE are seeking would remedy

these injuries by eliminating the plaintiffs' competiti,.e disadvantage     ,;s-il-\;s the defendant.

                                                     V.
                                                   CLAIMS

                                                  COUNT I
                          Violations of the Foreign Emoluments Clause
                                (Declaratory and Injunctive Relief)

           134.      As discussed in detail above, the defendant     has ,;olated-and      will continue to

violate-the       Foreign Emoluments      Clause. The phrase "Person holding any Ollice of Profit or

Trust," as used in the clause, includes the President. The phrases "'present" and "ElTIo]umcnl ...

of any kind whatever" together cover anything of ,"alue, including without limitation moneta!)'

and non-monetary gifts or transactions, transactions granting special treatment, and transactions

above 111arginal cost. And the phrase "any King, Prince, or foreign State" includes any foreign

govermnent and any agent or instrumentality thereof.


        "'     Montgomery COIlIl!>'Cor!ferfl/ce Cenler Economic and Fisca/Impacl   AnalYsis Fl" 2016,     Fina/
Report Gan. 2017) at 1-2.



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         135.      The defendalll has accepted "preselll[sj" or "Emolumelll [s]" directly from-or

from age Ills or instrumentalities of-China,      the United Arab Emirates, Ku\\"ait, Indonesia, Saudi

Arabia, Afghanistan, Q,"ltar, India, Georgia, the United Kingdom, and other "foreign State!s],"

\\"ithout seeking or obtaining         "the Conselll of the Congress'.     as required   by the Foreign

Emolumellls Clause.

         136.      As described    more fully in paragraphs      29   10   78 herein, the defendalll    is

committing or will camlnit these \iolations in connection with transactions in,.olving the Trump

International    Hotel \\'ashington,    D.C., 1'\ew York's Trump To\\"er and Trump \\'orld To\\"er,

restaurallls the defendant mnlS or that arc located in his hotels or other properties, the television

program '"The Apprentice" and its spinoffs and international ,.crsions, and other business and

property interests and transactions in the United States and abroad.

         137.      As a direct result of these ,;olauons     of the Foreign Emolumellls Clause, the

plaintiffs, and their residents, have suffered signifiealll harm. They also stand to suller additional

significant hann directly from the further occurrence of these violations.

         138.      No plan announced by the defendalll or his attorneys as of the date of this filing

can make this conduct constitutional or othenvisc fCIlledy these constitutional ,ioialions.

         139.      The District of Columbia and the State of I\laryland arc entitled to injuncti,.e

and declaratory rclief to slOP the abon:-mentioned        Foreign Emolumellls Clause ,.iolations and

any other Foreign El11olul11elllsClause ,.iolations. This Court has the power to grant sueh relief

pursuant to its inherelll authority to gralll equitable relief and 28 U.S.C. ~~ 1331 and 220 I.

                                                COUNT II
                        Violations of the Domestic Emoluments Clause
                               (Declaratory and Injunctive Relief)

         140.      As discussed in detail abm.e, the defendant has also ,;olated-and       ,,;11 continue

to ,;alate-the    Domestic El11alul11elllsClause. As President, he is the sale subject of the clause.

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The    phrase      "any   other       Emolument"    under        the clause coyers     remuneration     beyond    the

Prcsidcnt~s       "'Compcnsation~'       as set by Congress,          including    monetary    and nOIl-monetar\'

paYJl1cnts or transactions,            transactions granting special treatment,           and transactions above

marginal     cos!. And the phrase "the United States, or any of them" includes any part of the

federal government,             any    state government,         any local governn1cnt,       and     an" agent    or

instrumentality      thereof.

           141.       The defendant        is and will be accepting        "any other Emolument"          from "the

United States, or any of them." As described                 more fully    III   paragraphs   79 to 99 herein, the

defendant     has committed           \iolatio!1S of the Domestic       Emoluments      Clause, and "ithout       this

Court's interyel1lion he "ill continue yiolate the clause.

         142.         As a direct result of these \iolations         of the Domestic Emoluments          Clause, the

plaintiffs, and their residents, haye suffered significant harm. They also stand to suffer additional

significant harm directly from the further occurrence of these \iolations.

         143.         No plan announced        by the defendant or his attortleys as of the date of this filing

can make this conduct constitutional or othcIV.'ise remedy these constitutional violations.

         144.         The District of Columbia and the State of l\Ial)'land             are entitled to declaratol)'

and injunctiye       relief to stop and preyent the abow-mentioned                 Domestic   Emoluments      Clause

\iolations   and any other \iolations         of the clause. This Court has the power to grant such rclief

pursuant to its inherent authority to grant equitable relief and 28 U.s.C.                ~S1331    and 220 I.




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                                            VI.
                                     PRAYER FOR RELIEF

       WHEREFORE,         the District of Columbia and the State of Maryland            respectfully request

that this Court enter a judgment   in their favor and against the defendant, consisting of:

       (a)     A declaratory judgment,    stating that the defendant      has \'iolated and will continue

to \iolate the Foreign and Domestic Emoluments Clauses, as construed by this Court;

       (b)     injunctive relief, enjoining the defendant from \iolating the Foreign and Domestic

Emoluments   Clauses, as construed by this Court:

       (c)     such other and further relief as this Court may deem just and proper.

       Dated:June    12,2017                        THE DISTRICT          OF COLUMBIA




                                                    B:_~&~
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